        Case 1-17-45121-cec     Doc 129     Filed 09/23/19     Entered 09/24/19 10:14:38




UNITED STATES BANKRUPTCY COURT EASTERN
DISTRICT OF NEW YORK
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 In re

RENE GUZMAN,                                                 Case No. 17-45121-cec


                                                             Chapter 11
               Debtor.
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      ORDER GRANTING DEBTOR’S MOTION FFOR (CEC) AN ORDER
       APPROVING A STIPULATION TO DISMISS CHAPTER 11 CASE
          BETWEEN DEBTOR AND OFFICE OF THE U.S. TRUSTEE
PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019 OR AN (CEC)

         Upon the Motion (“Motion”) of Rene Guzman (the “Debtor”) dated August 13, 2019,

[ECF No. 113] (CEC) for the entry of an order, pursuant to 11 U.S.C. § 105 and Fed. Rules of

Bankr. Proc. 3012 and 9019, approving the stipulation entered into between the Debtor and the

Office of the U.S. Trustee to dismiss the Debtor’s case; the Court having conducted a hearing; no

opposition to the Motion having been filed; the Debtors having appeared by their counsel Ortiz &

Ortiz, L.L.P.; due notice of the Motion having been given and sufficient cause appearing therefor,

it is

         ORDERED, that the Motion is granted, and the Debtor is authorized to enter into the

stipulation annexed to the Motion as Exhibit A.




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  Dated: Brooklyn, New York                                           Carla E. Craig
         September 23, 2019                                   United States Bankruptcy Judge
